Case 2:03-cv-02135-BBD-dkv Document 151 Filed 06/21/05 Page 1 of 3 Page|D 1//41

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IN THE UNITED sTATEs DIsTRICT CoURT
FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 JUN 2 l AH 6.~ 55
WESTERN DIVISION

ROBEHT R. Di TROL|O
uu;HK. U.S. DISTT CT.
w.D. OF TN, MEMPHIS

MARK CHRISTOPHER OBERT and )
LESLEY OBERT, )
)
Plaintiffs, )
)
v. ) Civil Docket No.:03-2135-DV
)
THE PYRAMID, CITY OF MEMPHIS, )
SHELBY COUNTY GOVERNMENT, )
PUBLIC BUILDING AUTHORITY OF )
MEMPHIS AND SHELBY COUNTY, )
MEMPHIS POLICE DEPARTMENT, )
LEISURE MANAGEMENT INTERNATIONAL)
D/B/A LMI/HHI, LTD., and SPECTACOR )
MANAGEMENT GROUP D/B/A SMG, )
)
)
Defendants. )

 

' ORDER GRANTING PLAINTIFFS’
MOTION TO EX'I`END DEADLINES PURSUAN'I` TO
MAY 4, 2005 ORDER

 

Upon consideration of Plaintiff’s Motion To Extend Deadlines Pursuant to May 4, 2005
Order, and the entire record herein, it is hereby ORDERED that Plaintiff‘s Motion is granted
Accordingly, it is ordered as follows:

Plaintiffs shall be allowed to take the deposition of a 30(b)(6) representative of Shelby

County and the depositions of City of Mernphis police ofticers, Sgt. Acred and J. Jordan

on or before July l4, 2005.

Plaintiffs shall respond to the Motion for Summary Judgrnent filed by the
Memphis on or before July 14, 2005.

   

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DI'TR'IC COURT - WESTENR ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 151 in
case 2:03-CV-02135 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

